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George Mason’s youngest grads
in our State of NoVa Poll
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_ Sohaib Akhter (left), 19, and his twin brother, Muneeb, created a geomabile omnidirectional
| robotic telepresence (GORT) while gelling their degrees at George Mason University, But can it
BO "The Robot?” (Shamus F atzinger)

Of the roughly 7,400 George Mason students who graduated Saturday,
Muneeb and Sohaib Akhter had to be among the most interesting, as
well as the youngest. They're 19-year-old twins, they graduated in three
years with degrees in electrical engineering, arguably the school’s

_ toughest program, and they invent robots.

3 Top 50 restaurants in
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Best Restaurants of
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And they sound pretty humble, according to this excellent story by Holly
4 Federal food aid nsing . ‘ . cw ; . .
tocally. Use of faod | Hobbs in the Fairfax County Times: “We've spent a lot of time playing
stamps skyrocketing | Video games,” said Muneeb Akhter.
in Northern Virginia -
Alexandria Gazette
Packet

Yeah, sure pal. Muneeb graduated cum laude with a 3.68 GPA, and
Sohair, taking 22 hours (!!) this semester, finished magna cum laude
with a 3.86 GPA.

5 N.Y Times thes new

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Suburban Wasteland
in Virginia Gets a
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New York Times

Besides acing their classes, the brothers developed GORT, or
Geomobile Omnidirectional Robotic Telepresence. The nearly six-foot
robot has an online video chat screen for a face, and the Akhters use it
to travel the campus without leaving the dorm room.

TOP 31 NOVA BLOGS

“It's nicknamed the ‘party ‘bot,’” Muneeb said, adding the robot can

Sure, there are a lot of serve as a disc jockey for parties because of its built-in stereo system.

1 a fot of blah-blah-
there. But here at
2 of NoVa, we've
culled through a few
hundred of so, and bring
you our list of the Top 34
fun and fascinating
blogs on everything from
$s lo partying

| think we'll be hearing more about these guys.

By Tom Jackman | 05:00 AM ET, 05/23/2011

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